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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

DR. DOROTHY NAIRNE, ET AL.                                 CIVIL ACTION

VERSUS                                                     NO. 3:22-CV-00178

R. KYLE ARDOIN, in his official capacity
As Secretary of State of Louisiana


                  MOTION FOR LEAVE TO SUBSTITUTE PLEADING

       NOW INTO COURT, through undersigned counsel, comes Defendant, NANCY

LANDRY, in her official capacity as Secretary of State of Louisiana, who respectfully requests

this Court to grant leave to substitute the attached Motion to Withdraw Counsel of Record for the

document previously filed on January 10, 2024 as Document 220..

       WHEREFORE, Defendant, Nancy Landry, respectfully prays that Court permit the

attached Motion to Withdraw Counsel of Record to be filed in this matter.

                                            Respectfully Submitted:



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                                            *Admitted pro hac vice


                                            Counsel for Nancy Landry, in her official capacity
                                            As Secretary of State of Louisiana

                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 11th day of January, 2024, a copy of the foregoing was
filed electronically with the Clerk of Court using the CM/ECF system, and notice will be sent to
all counsel by operation of the court’s electronic filing system.

                                       s/ John C. Walsh
                                      JOHN C. WALSH




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